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WEISBERG & ZUKHER, PLLC.

DAVID E. ZUKHER, ESQ.

MANAGING PARTNER
109 S. WARREN ST.

KARLA ANTELLI PA VESE,

SUITE 711 LAW CLERK

SYRACUSE, NY 13202

P; G15) 701-2939

F: GIS) 701-2938

July 1, 2024

VIA ELECTRONIC FILING

Honorable Mitchell J. Katz

United States District Court, Northern District of New York
James M. Hanley Federal Bldg. P.O. Box 7346

Syracuse, New York 13261

Re: Estate of JLA v. The Town of Dewitt et. al. $:22-cv-00287-MAD-MJK

Dear Judge Katz;

Pursuant to Local Rule §7.1 (a), this office conferred with opposing counsel regarding a
proposed motion to amend the caption and complaint reflecting the recent dismissal of several
parties, and joinder of NYSP employee, Sgt. Scott Brent, as a defendant.

Opposing counsel is not in agreement with this proposal and, therefore, motion practice is
necessary. Due to the foregoing, I respectfully request the prerequisite conference prior to filing
non-dispositive motions.

Thank you for your courtesy and consideration.

Respectfully yours,
WEISBERG & ZUKHER, PLLC

David E. Zukher, Esq.
Bar Roll No.: 510328

DEZ/kap

Ce:

Collin M. Carr, Esq.
Mitchell J. Banas, Jr. Esq,
Ryan Keleher, Esq.
